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FoR THE wEsTERN DISTRICT oF TENNEssEE ` '

WESTERN DIVISION U§HAY{' FH h;§?

 

UNITED STATES OF AMERICA,

 

Plaintiff,
vs. No. 04-cr'20229
Jamal Ibrahim, et al

Defendant.

 

MODIFICATION OF BOND CONDITIONS

 

Come now the parties to this lawsuit and state unto the Court
that they agree that the bond conditions in this matter should be
modified. The parties would show unto the Court that Mr. Jamal
lbrahim is currently working as an installer for a satellite t.v.
company. As such, he needs to be able to cross over into Eastern
Arkansas and into Northern Mississippi to do installations for his
employer.

Therefore, the parties respectfully request that this Court
amend the conditions of Mr. Jamal lbrahim's bond and permit him to
work for the satellite t.v. company by accepting installation jobs
in the Western District of Tennessee, the Northern District of
Mississippi and the Eastern Division of Arkansas without violating

the terms and conditions of his bond.

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JM/””L-

SAMUEL H. MAYS, JR.
United States District Court Judge

lt is so ordered.

 

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DATE:

 

APPROVED FOR ENTRY:

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UNITED TEATS DISTRIC COURT - WESRNTE D"RITICT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 91 in
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Honorable Samuel Mays
US DISTRICT COURT

